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                                 UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF LOUISIANA
                                       MONROE DIVISION

TERRY BERRY ET AL                                       CIVIL ACTION NO. 3:20-CV-00537

VERSUS                                                  JUDGE DOUGHTY

MONSANTO CO                                             MAG. JUDGE KAREN L. HAYES

                                         SCHEDULING ORDER
       In accordance with Rule 16(b) of the Federal Rules of Civil Procedure, the following dates are set on
the docket of Judge Terry A. Doughty:

 February 07, 2022 at 9:00A.M.                            JURY TRIAL before Judge Terry A. Doughty in
                                                          Monroe, 2nd floor Courtroom

 January 05, 2022 at 10:00 A.M.                           PRETRIAL CONFERENCE WITH Magistrate
                                                          Judge Hayes in chambers.

 January 03, 2022 by 5:00 P.M.                            PRETRIAL ORDER*
                                                          *See format on Judge Doughty’s forms page at
                                                          www.lawd.uscourts.gov.

                     SPECIAL REQUIREMENTS ENFORCED BY THE COURT

A.     Motions to Extend Deadlines. A motion to extend any deadline shall include a statement that the
       granting of the motion shall or shall not affect any other deadline or the trial date. Filing a motion to
       extend a deadline does not, in and of itself, result in an extension of time. Therefore, motions for
       extensions of time must be filed as soon as possible, but in any event, not later than the day before the
       existing deadline.

B.     Dispositive Motion Deadline. Motions to extend the dispositive motion deadline are disfavored and
       will be granted only in exceptional circumstances.

C.     Motions to Continue Trial. Except in extraordinary situations, no motion to continue the trial
       because of a trial conflict will be considered earlier than one month prior to the date of the trial.

D.     Scheduling Conferences. The Court does not hold scheduling conferences to reschedule trial dates.
       If the Court feels a conference would be helpful, it will refer the matter to the Magistrate Judge for a
       conference at that time.

E.     Courtesy Copies. An electronic copy of the motion and all memoranda only (no attachments) shall
       be e-mailed in WordPerfect or Word Format to: Doughty_motions@lawd.uscourts.gov. If
       attachments to the motion or response exceed 50 pages, paper copies of the attachments shall be
       provided to chambers:
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               Hon. Terry A. Doughty
               United States District Judge
               201 Jackson Street, Suite 215
               Monroe, Louisiana 71201


F.     Exhibits For Court Proceedings.

       THIS SECTION HAS CHANGED. PLEASE READ CAREFULLY.

       Counsel for each party will be responsible for presenting their own evidence.

       In jury trials, all exhibits and depositions will be displayed to the jury on the electronic monitors in
       the courtroom. One paper copy of the exhibits admitted into evidence shall be provided for use during
       jury deliberations. That copy will be returned at the end of the trial. Additionally, and in
       accordance with the Notice Regarding Exhibits For Court Proceedings, an electronic copy of the
       exhibits Must also be submitted to the Court.

       In bench trials, exhibits may be displayed on the electronic monitors in the Courtroom or counsel
       may provide bench books for the Judge, Law Clerk and witness. Additionally, and in accordance with
       the Notice Regarding Exhibits For Court Proceedings, an electronic copy of the exhibits Must also be
       submitted to the Court.

G.     Joint Submissions. It is the duty of all counsel to notify the Court in writing if, after good faith
       reasonable effort, any party cannot obtain the cooperation of opposing counsel on matters requiring
       joint submissions, including the Pretrial Order, Joint Jury Instructions, Joint Jury Verdict Form, or
       edited trial depositions.

H.     Trial Depositions. Unless excused by Judge Doughty for good cause shown, trial depositions in
       jury cases shall be videotaped. Any depositions that are intended to be used in evidence (other than
       for impeachment only) must be taken by video. Naturally, if a witness becomes unavailable
       unexpectedly, a deposition may still be read to the jury. However, parties are responsible for
       providing their own readers.

I.     Computation of Deadlines. If a deadline falls on a Saturday, Sunday, or federal holiday, the
       effective date is the first business day following the deadline.

J.     Notification of Settlement. If parties reach a settlement, they are to file a Notice of Settlement
       immediately. The Court will then issue an order allowing the parties 60 days to consummate the
       settlement and file a Joint Stipulation of Dismissal.

K.     Abbreviated or Extended Scheduling Orders. Within 30 days of issuance of this Scheduling
       Order, any party may file a motion to set a status conference with the Magistrate Judge to consider
       issuing a new Scheduling Order with an abbreviated or extended discovery calendar.

L.     Consent Trials. In accordance with 28 U.S.C. 63(c)-(h), the parties may consent to proceed with a
       jury or a bench trial before a United States Magistrate Judge. If the parties wish to proceed before a
       United States Magistrate Judge, they are more likely to go to trial on the designated date. A consent
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        form (AO-85 Notice, Consent, and Reference of a Civil Action to a Magistrate Judge) can be found
        on the official U.S. Court's website at www.uscourts.gov.

M.      Judgments. Within 21 days of the Court=s or the jury's ruling at the conclusion of a trial, counsel
        shall submit a proposed judgment, approved as to form by both sides. If counsel cannot agree on a
        judgment, then each side must submit its own proposed judgment with an explanation of objections
        to the other party's proposed judgment within the 21-day period.

N.      Communication with the Court. Counsel are reminded that they should refer to this Scheduling
        Order, the Federal Rules of Criminal or Civil Procedure, the Local Rules for the Western District of
        Louisiana, and the Guide to Practice on the Court's website (www.lawd.uscourts.gov) prior to
        contacting Chambers. Counsel are further reminded that if they wish to discuss a substantive matter
        they should file a motion for a telephone status conference. If it is a matter of urgency, counsel
        should initiate a telephone conference call with opposing counsel prior to contacting Chambers staff.

O.      Facsimile Transmissions. Counsel shall not fax pleadings, courtesy copies, or correspondence to
        Chambers without specific prior permission.

P.      Mediation. If all counsel are interested in mediation, they may contact Magistrate Judge Hayes for
        referral to another United States Magistrate Judge willing to mediate their case.

                                            PRETRIAL DEADLINES

1.      JOINDER OF PARTIES AND AMENDMENT OF PLEADINGS


         June 24, 2021                 Deadline for joinder of parties and amendment of pleadings.
         (195 days before PTC)



2.      WITNESS LISTS. All witness lists exchanged by the parties shall include the name and address of
the witness and a brief statement of the nature of the witness's expected testimony. This requirement does
not preclude earlier disclosure if requested by counsel in formal discovery. Additionally, parties are
required to supplement their list immediately with the names of any additional witnesses who become known
after the date the initial witness list is due.


         July 23, 2021                 a.         Plaintiff's witness list delivered to defendant.
         (165 days before PTC)
         August 03, 2021               b.         Defendant's witness list delivered to plaintiff.
         (155 days before PTC)
         August 03, 2021               c.         Plaintiff identifies experts to opposing party.
         (155 days before PTC)
         August 18, 2021               d.         Defendant identifies experts to opposing party.
         (140 days before PTC)

These initial witness lists shall not be filed.
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3.      EXPERT REPORTS. Expert reports to be disclosed in compliance with Fed.R.Civ. P. 26(a)(2)(B),
except for the listing of any other cases in which the expert has testified as an expert at trial or by deposition
within the preceding four years, shall be delivered to opposing party. If there is any subsequent change in
the expert's opinion or its basis, the offering attorney must notify all counsel within 7 days. This
requirement does not preclude earlier disclosure if requested by counsel in formal discovery.


         August 06, 2021              a. Plaintiff's expert reports delivered to defendant.
         (150 days before PTC)
         August 23, 2021              b. Defendant's expert reports delivered to plaintiff.
         (135 days before PTC)



4.     TREATING HEALTH CARE PROVIDERS. Treating health care providers are not considered
experts under the Federal Rules of Civil Procedure and not subject to the provisions for experts in this
Scheduling Order. However, the Court requires that reports of treating health care providers, if any, be
furnished to opposing counsel immediately upon receipt.


5.     DISCOVERY.


         August 23, 2021              Discovery completion deadline.
         (135 days before PTC)          To allow time for responses, written discovery must be served more
                                        than thirty (30) days before the deadline.


6.     MOTIONS TO COMPEL

         August 23, 2021              Deadline for filing motions to compel.
         (135 days before PTC)



7.     EXPERT DEPOSITIONS

         September 22, 2021           Unless deposed earlier, experts must be available for deposition during
         (105 days before PTC)        the two weeks before this date.


8.     DISPOSITIVE MOTIONS

         October 07, 2021             Deadline for filing dispositive motions.
         (90 days before PTC)



9.     PRETRIAL ORDER
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         December 03, 2021             a. No later than this date, counsel for plaintiff shall serve upon counsel
         (30 days before PTO filed)    for all other parties the proposed contents of the pretrial order.
         December 09, 2021             b. No later than this date, defense counsel shall serve upon counsel for
         (25 days before PTO filed)    all other parties all matters to be incorporated in the pretrial order.
                                       Additionally, defense counsel should submit any objections or changes
                                       to the proposals served by counsel for plaintiff.
         December 14, 2021             c. All trial counsel shall confer to prepare the proposed pretrial order.
         (20 days before PTO filed)    The Court prefers that such conference occur in person, but should a
                                       face-to-face meeting not be feasible or practical, counsel may confer by
                                       telephone.
         December 27, 2021             d. It is the duty of all counsel to notify the Court in writing no later than
         (7 days before PTO filed)     7 days before the pretrial order is to be filed, if, after reasonable effort,
                                       any party cannot obtain the cooperation of other counsel.
         January 03, 2022              e. The proposed PRETRIAL ORDER must be filed with the Clerk of
         (Monday before PTC)           Court by 5:00 P.M. FAILURE TO COMPLY MAY RESULT IN
                                       SANCTIONS. The parties shall also file their EXHIBIT LISTS and
                                       WITNESS LISTS separately (see formats available on Judge
                                       Doughty’s forms page at www.lawd.uscourts.gov).


10.     PRETRIAL CONFERENCE

         January 05, 2022              All trial counsel must attend in person unless granted prior permission
         at 10:00 A.M. WITH            by the Magistrate Judge to participate by telephone.
         MAGISTRATE JUDGE


11.     MOTIONS IN LIMINE

         December 10, 2021             Deadline for filing motions in limine.
         (26 days before PTC)



12.     EXCHANGE OF EXHIBITS

         December 14, 2021             Exchange of a numbered set of all exhibits between counsel.
 (Day counsel confer to prepare PTO)
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13.     PRETRIAL SUBMISSIONS

        All pretrial submissions shall be filed with the Clerk of Court no later than 4:30 P.M. on the date
specified below. Sanctions may be imposed by the Court for failure to comply.


        a. PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW (BENCH TRIALS)

                                     Counsel for each party shall file a memorandum setting forth its
         January 28, 2022            proposed findings of fact and conclusions of law. Proposed findings
         (10 days before trial)      of fact shall be in the form of an outline listing EACH WITNESS
                                     including any witness testifying by deposition. Under the name of
                                     each witness shall be a numbered list of the proposed facts that witness
                                     will testify to.

                                     Proposed conclusions of law shall consist of a statement of the
                                     controlling law, as well as an application of the facts in the case to the
                                     controlling law. Proposed conclusions of law shall include pinpoint
                                     legal citations to supporting authority.

        b. JOINT BENCH VERDICT FORM (BENCH TRIALS)

         January 28, 2022            Counsel shall also file a JOINT VERDICT FORM, similar to a jury
         (10 days before trial)      verdict form, for use by the Court as a checklist to ensure that all claims
                                     are resolved. The form shall be ONE DOCUMENT PREPARED
                                     JOINTLY BY ALL PARTIES. Any contested interrogatories should
                                     be clearly labeled.

        c. JOINT JURY INSTRUCTIONS AND VERDICT FORM (JURY TRIALS)

          January 28, 2022           Joint proposed jury instructions shall be filed. They shall also be
         (10 days before trial)      submitted to Chambers by e-mail to
                                     Doughty_motions@lawd.uscourts.gov in Word, WordPerfect or Rich
                                     Text format. The proposed jury instructions shall consist of ONE
                                     RUNNING SCRIPT, PREPARED JOINTLY, based on the Fifth
                                     Circuit’s Pattern Civil Jury Instructions. Counsel shall cite to all Fifth
                                     Circuit Pattern Instructions by number. Any non-pattern instructions
                                     shall include pinpoint citations to legal authority. Any contested
                                     instructions should be clearly labeled and followed by the objection of
                                     the opposing party with any applicable legal authority for the objection.
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                            A joint proposed jury verdict form shall also be filed. The verdict
                            form shall also be submitted by e-mail to
                            Doughty_motions@lawd.uscourts.gov in Word, WordPerfect or Rich
                            Text Format. The proposed verdict form shall be ONE DOCUMENT
                            PREPARED JOINTLY BY ALL PARTIES. Any contested
                            interrogatories should be clearly labeled and followed by the objection
                            of the opposing party with any applicable legal authority for the
                            objection.


  d. PRETRIAL MEMORANDA (JURY AND BENCH TRIALS)

   January 03, 2022         Each party shall file a memorandum on the following if applicable, and
   (Monday before PTC)      provide a courtesy copy to chambers.

                            i. CONTESTED ISSUES OF LAW

                            All parties shall file memoranda on any contested issues of law to be
                            decided by the Court.

                            ii. OUTSTANDING DISCOVERY ISSUES

                            All parties shall file memoranda on any outstanding discovery issues,
                            including any issues relating to expert qualifications and testimony.

                            iii. OBJECTIONS TO TRIAL DEPOSITIONS (JURY AND
                            BENCH TRIALS)

                            All parties shall file memoranda on objections to trial depositions, if
                            any.

                            Counsel shall be prepared to discuss these submissions at the Pre-
                            Trial Conference.


  THUS DONE in Chambers on this 9th day of September, 2020.




                                                        KAREN L. HAYES
                                                   United States Magistrate Judge
